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                                                                                           January 10, 2025
    By ECF

    Hon. Lashann Dearcy Hall
    United States District Judge
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

             Re:       Walden v. Peter S. Kosinski, et al., 25-cv-00072 (EDNY)(LDH)(TAM)

    Dear Judge DeArcy Hall:

            I represent the Plaintiff in this recently filed action, which alleges violations of Plaintiff’s
    free speech and association and equal protection rights in connecrtion with his candidacy for
    Mayor of New York City. The Defendants have been served with the summons and complaint.
    The Office of the New York Attorney General represents the individual defendants, all of whom
    are sued only in their official capacities as officials of the State Board of Elections (collectively,
    the “State Board Defendants”).

            Plaintiff intends to move for a preliminary injunction. Counsel for the State Board
    Defendants and I have reached agreement on a proposed briefing schedule, and for filing their
    response to the Complaint. Counsel for the New York City Board of Elections (the “City Board”)
    has advised me that his client does not take a position on this scheduling application. I therefore
    write on behalf of Plaintiff and the State Board Defendants to requests the following schedule,
    subject of course to Your Honor’s convenience:

             Plaintiff’s motion papers served by email by January 15;

             Defendants’ opposition papers served by email by January 31;

             Plaintiffs’ reply papers served by email (and all papers filed by ECF) by February 7.

             State Board Defendants to file answer or otherwise respond to the Complaint on or before
             ten (10) days after the Court decides the motion for a preliminary injunction.

            Plaintiff and the State Board Defendants request that the Court order this schedule despite
    that the City Board has not taken a position given the exigencies of the electoral calendar.

                                                                                           Respectfully submitted,


                                                                                           John R. Cuti
    cc:      counsel for all Defendants (by email)



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